                                                               CLERKS OFFICE U.S. DIST. COURT
                                                                  AT CHARLOTTESVILLE, VA
                                                                         FILED
                           IN THE UNITED STATES DISTRICT COURT       01/10/2020
                                                                  JULIA C. DUDLEY, CLERK
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                                                  BY: /s/ J. JONES
                                    Charlottesville Division
                                                                      DEPUTY CLERK
  ELIZABETH SINES et al.,                        )
       Plaintiffs,                               )         Civil Action No. 3:17-cv-00072
                                                 )
  v.                                             )         ORDER
                                                 )
  JASON KESSLER et al.,                          )         By:    Joel C. Hoppe
       Defendants.                               )                United States Magistrate Judge


         The Court is in receipt of an email from Dillon Hopper, Defendant Vanguard America’s

  nonparty representative, seeking guidance about Defendant’s discovery obligations in this case.

  In federal court, the litigants and their counsel are primarily responsible for conducting

  discovery, ideally “without the need for constant judicial intervention.” Poole ex. rel. Elliott v.

  Textron, Inc., 192 F.R.D. 494, 507 (D. Md. 2000) (quotation marks omitted). Accordingly, the

  Court instructs the parties and their nonparty representatives to communicate, or confer, before

  asking the Court to resolve a discovery question or dispute. See Fed. R. Civ. P. 26(c)(1). In

  conferring, the parties must provide enough information to allow each side to determine whether

  the responding party has access to the requested discovery material. If good-faith efforts to

  resolve the dispute fail, then the affected party or person may file a formal motion for the Court’s

  determination. See Fed. R. Civ. P. 7(b), 26(c), 37(a).

         IT IS SO ORDERED.

         The Clerk shall send a copy of this Order to the parties and Mr. Hopper.

                                                           ENTER: January 10, 2020



                                                           Joel C. Hoppe
                                                           U.S. Magistrate Judge




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